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                         UNITED STATES OF AMERICA
                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

UNITED STATES OF AMERICA


                   Plaintiff,                   Case No. 2:16-cr-14-03

v.                                              HON. ROBERT HOLMES BELL

MICHAEL PAUL KARPPINEN

                   Defendant.
                                      /

                                          ORDER

      Hearing on the government's motion to revoke bond pending sentencing (ECF

#56) was scheduled before the undersigned on November 2, 2016. The Court was

advised that defendant wishes to stay in custody pending sentencing rendering the

government's motion moot.

      IT IS HEREBY ORDERED that Defendant Karppinen will remain in custody

pending further proceedings.

      IT IS ORDERED




Dated: November 2, 2016                      /s/ Timothy P. Greeley
                                          TIMOTHY P. GREELEY
                                          U.S. MAGISTRATE JUDGE
